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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                   Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



     AMENDMENT TO MR. FLYNN’S AUGUST 30TH MOTION TO COMPEL
  PRODUCTION OF BRADY MATERIAL AND FOR AN ORDER TO SHOW CAUSE

         Michael T. Flynn “Mr. Flynn” respectfully submits this amendment to his Motion to

Compel Production of Brady Material and for an Order to Show Cause [“the Motion”], filed

August 30, 2019 (Dkt. 111).

         1. On page 4, paragraph 3 of the Motion, Mr. Flynn requests any drafts, electronic

            communications (“ECs”), emails, and texts related to Nellie Ohr’s research on Mr.

            Flynn, and all CIA cables on the topic as well.

         2. On page 4, paragraph 4, Mr. Flynn additionally requests with respect to Col. (Ret.)

            James Baker, the current head of DOD Office of Net Assessment, production of Col.

            Baker’s calendar showing his meetings with or any other communications with David

            Ignatius from July 1, 2015 through March 2017.

         3. On page 4, paragraph 8, Mr. Flynn further requests ECs in addition to human sources.

         4. On page 5, paragraph 16, the date of the Russia Today dinner is incorrect. The date of

            the dinner was December 10, 2015, rather than December 17, 2015.




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       Counsel does not anticipate the government’s need for additional time to respond in light

of these minor amendments but does not oppose if needed.

       Dated: September 23, 2019.

                                                           Respectfully submitted,


                                                           /s/ Sidney Powell
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on September 23, 2019, true and genuine copies of Mr. Flynn’s

Amendment to his Motion to Compel Production of Brady Material and for an Order to Show

Cause were served via electronic mail by the Court’s CM/ECF system to all counsel of record,

including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
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                                                    Respectfully submitted,


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